            1:17-cv-01110-SLD # 75          Page 1 of 1                                               E-FILED
Judgment in a Civil Case (02/11)                                       Wednesday, 27 March, 2019 02:20:14 PM
                                                                                Clerk, U.S. District Court, ILCD
                             UNITED STATES DISTRICT COURT
                                                 for the
                                        Central District of Illinois

Jonathan T. Carter                               )
                                                 )
                    Plaintiff,                   )
                                                 )
                               vs.               )        Case Number: 17-1110
                                                 )
Michael Melvin, Riliwan Ojelade,                 )
Andrew Tilden, Cheryl Hansen,                    )
Scott Punke, Susan Prentice,                     )
Jessica Clice, Tracie Klellesuik,                )
Rachelle Caldwell, Kristi Eshelemen,             )
Cirttia W, Andrea Moss, Kelly Haag               )
                                                 )
                                                 )
                    Defendant.                   )

                                     JUDGMENT IN A CIVIL CASE

  ☐ JURY VERDICT. This action came before the Court for a trial by jury.               The issues
have been tried and the jury has rendered its verdict.

  ☒ DECISION BY THE COURT.                    This action came before the Court, and a decision has
been rendered.

       IT IS ORDERED AND ADJUDGED that Plaintiff recovers nothing on his claims against
the defendants and that this action is dismissed on its merits, with the parties to bear their own
costs.

Dated: 3/27/2019

                                                          s/ Shig Yasunaga
                                                          Shig Yasunaga
                                                          Clerk, U.S. District Court
